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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK
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WILLIAM J. WAGNER,

                  Plaintiff,                        NOTICE OF CROSS-MOTION
                                                    FOR SUMMARY JUDGMENT
      -vs-
                                                    Docket No. 15-cv-633-FPG
CHIARI & ILECKI, LLP,

                  Defendant.
____________________________________________


MOTION MADE BY:                Defendant, CHIARI & ILECKI, LLP, by its attorneys,
                               CONNORS LLP.

DATE, TIME, & PLACE            On a date and time specified by the Court, before the
OF HEARING:                    Hon. Frank P. Geraci, Jr., in the United States
                               District Court for the Western District of New York,
                               at 100 State Street, Rochester, New York 14614.
                               Oral argument is requested.

SUPPORTING PAPERS:             Declaration of Paul A. Woodard, Esq., with exhibits;
                               Declaration of William Ilecki, Esq.; Declaration of
                               Melissa Overbeck, Esq., with exhibits; Declaration of
                               Karen Sandford, with exhibits; Declaration of
                               Kristian Brown, with exhibit; Statement of Material
                               Undisputed Facts; Response to Plaintiff’s Statement
                               of Undisputed Facts; Memorandum of Law;
                               defendant’s papers submitted in opposition to
                               plaintiff’s motion in limine (Doc. 19); and all other
                               papers and proceedings in this action.

RELIEF REQUESTED &             An Order of this Court granting defendant summary
GROUNDS FOR RELIEF:            judgment on each of plaintiff’s claims and dismissing
                               this action in its entirety, with prejudice, pursuant to
                               Rule 56 of the Federal Rules of Civil Procedure.

REPLY PAPERS:                  Defendant intends to file and serve reply papers.
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DATED:   Buffalo, New York
         March 2, 2017


                                          s/Paul A. Woodard
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